    Case: 1:18-cv-06859 Document #: 75 Filed: 08/01/19 Page 1 of 4 PageID #:2872



                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS



THE CITY OF CHICAGO,

                                 Plaintiff,

                     v.
                                                           Civil Action No. 1:18-cv-6859
ATTORNEY GENERAL OF THE UNITED
STATES,                                                    Hon. Harry D. Leinenweber

                                 Defendant.




  CHICAGO’S MOTION FOR LEAVE TO CITE SUPPLEMENTAL AUTHORITY IN
          SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

        The City of Chicago respectfully moves for leave to cite the Edward Byrne Memorial Justice

Assistant Grant (JAG) Program Fiscal Year 2019 Local Solicitation (“FY 2019 Local Solicitation”)

(attached as Ex. 1), in support of its pending Motion for Partial Summary Judgment and Opposition

to the Attorney General’s Motion to Dismiss (Dkt Nos. 48, 50). The FY 2019 Solicitation confirms

that, as the FY 2019 JAG state solicitation indicated, see Dkt. No. 64 at 3, the Attorney General still

has not heeded the message of this Court’s original ruling concerning his conditions on the Byrne

JAG program. At this point, there can be no doubt of the Attorney General’s commitment to the

Byrne JAG conditions at issue here, notwithstanding this Court’s ruling (and the rulings of five other

district courts and two courts of appeals) that materially identically conditions are unlawful. Nor can

there be any doubt that forward-looking injunctive relief for all future program years is warranted to

put a stop to this cycle of unlawful ultra vires action.

        In support of this Motion, Chicago states as follows:
    Case: 1:18-cv-06859 Document #: 75 Filed: 08/01/19 Page 2 of 4 PageID #:2872



        1.       On July 26, 2019, the Department of Justice Office of Justice Programs issued the

FY 2019 Solicitation, which identifies the conditions that generally will apply to FY 2019 Byrne JAG

funds. As relevant here, the Solicitation contains five conditions that Chicago has already challenged

because they were likewise included in the FY 2017 or FY 2018 solicitations, or both.

        2.       Three of the conditions set forth in the FY 2019 Solicitation are materially identical

to the FY 2017 conditions that this Court has already enjoined: (1) a “notice condition,” which

requires Chicago to provide “advance notice” to federal immigration enforcement agents of the

release date and time for a particular alien upon request; (2) an “access condition,” which requires

Chicago to allow federal agents to access local correctional facilities for the purpose of interrogating

City detainees; and (3) a “Section 1373 compliance condition,” which requires Chicago to comply

with 8 U.S.C. § 1373. This Court issued a permanent injunction against the FY 2017 version of

these conditions in August 2018. City of Chicago v. Sessions, 3221 F. Supp. 3d 855, 873-876 (N.D. Ill.

2018), appeal pending No. 18-2885 (7th Cir.); Final Judgment & Order, City of Chicago v. Sessions, No.

17-5720 (N.D. Ill. Aug. 15, 2018), ECF No. 211.

        3.       The FY 2018 solicitation contained these same conditions and added a fourth: a

“Section 1644 compliance condition,” which requires Chicago to comply with 8 U.S.C. § 1644. That

condition is materially identical to the Section 1373 compliance condition, as even the Attorney

General admits. Chicago’s request for a permanent injunction prohibiting the Attorney General

from imposing these conditions on FY 2018 Byrne JAG funds or any Byrne JAG awards made in

future fiscal years (including FY 2019) is currently pending before this Court. Dkt. No. 48.

        4.       Every court to have considered the notice, access, and Section 1373 and Section

1644 conditions has held them to be unauthorized by Congress, ultra vires, and a violation of the

constitutional principles of Federalism and the Separation of Powers. See, e.g., City of Philadelphia v.

Sessions, 309 F. Supp. 3d 289 (E.D. Pa. 2018), aff’d in part, vacated in part sub nom. City of Philadelphia v.



                                                      -2-
    Case: 1:18-cv-06859 Document #: 75 Filed: 08/01/19 Page 3 of 4 PageID #:2872



Attorney Gen., 916 F.3d 276 (3d Cir. 2019); see also, e.g., City of Providence v. Barr, --- F. Supp. 3d ----,

2019 WL 2420549 (D. R.I. June 10, 2019); New York v. Dep’t of Justice, 343 F. Supp. 3d 213, 243-246

(S.D.N.Y. 2018); California ex rel. Becerra v. Sessions, 2018 WL 6069940 (N.D. Cal. Nov. 20, 2018); City

& County of San Francisco v. Sessions, 349 F. Supp. 3d 924, 944 (N.D. Cal. 2018); Order, Los Angeles v.

Sessions, No. 17-cv-7215 (C.D. Cal. Sept. 13, 2018), ECF No. 93.

        5.       A fifth condition in the FY 2019 Solicitation is similar to the “harboring condition”

contained in Chicago’s FY 2018 Byrne JAG award. The new FY 2019 harboring condition prohibits

Chicago from “publicly disclos[ing] federal law enforcement information in an attempt to conceal,

harbor, or shield certain individuals from detection,” Ex. 1 at 23; the FY 2018 harboring condition

similarly prohibits Chicago from making any “public disclosure” of any “federal law enforcement

information in a direct or indirect attempt to conceal, harbor, or shield from detection” any

“fugitive” or “alien,” Defs.’ Request for Judicial Notice, Dkt. No. 44-1, Ex. C ¶ 44.

        6.       The FY 2018 version of the harboring condition has been rejected as unauthorized

by Congress, ultra vires, and a violation of the Separation of Powers by those courts that have

reached a decision on the lawfulness of the condition. See City & County of San Francisco v. Sessions,

372 F. Supp. 3d 928, 949-950 (N.D. Cal. 2019); City of Los Angeles v. Sessions, No. CV-18-7347-R,

2019 WL 1957866, at *5 (C.D. Cal. Feb. 15, 2019).

        7.       Chicago’s requested permanent injunction would prohibit the Attorney General

from imposing the notice condition, access condition, Section 1373 and Section 1644 conditions,

and the harboring condition, and all materially similar conditions, in FY 2018 or in future grant years

(including FY 2019). Dkt. 50 at 24-25.

        8.       The FY 2019 Solicitation shows that the Attorney General intends to continue his

present course of action unless restrained from doing so in clear, forward-looking terms. This Court

permanently enjoined the Attorney General’s conditions in FY 2017. Nonetheless, Chicago was



                                                      -3-
    Case: 1:18-cv-06859 Document #: 75 Filed: 08/01/19 Page 4 of 4 PageID #:2872



required to file this lawsuit to force the Attorney General to temporarily suspend some of the

challenged conditions. Dkt. No. 51 ¶¶ 34, 37. Now, with his announcement that he will do it all

again in FY 2019, the Attorney General seems determined to draw Chicago into triplicate litigation

over the same plainly unlawful conditions.

       9.      This Court can put an end to the Attorney General’s illegal efforts to strong-arm

Chicago into aiding in federal civil immigration enforcement efforts by issuing a permanent

injunction in this case that covers not only FY 2018, but also FY 2019 and any future program years.

       WHEREFORE, Chicago respectfully requests leave to cite the attached FY 2019 Solicitation

as supplemental authority in support of its Motion for Partial Summary Judgment and its

Opposition to the Attorney General’s Motion to Dismiss.

 August 1, 2019                                        Respectfully Submitted,

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